Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 1 of 9 PageID #: 981


      RECEIVED             RAYMOND AMERSON BEY
                            REG. NO. 21403-044
                            U.S. PENITENTIARY
                              P.O. BOX 1000
      BY MAIL            LEAVENWORTH, KS 66048


GREGORY LINHARES                                             Oct. 8, 2020
U.S. DISTRICT CLERK
U.S. DISTRICT COURTHOUSE
111 SOUTH 10TH STREET
ROOM 3.300
ST. LOUIS, MO 63102


RE:   CRIMINAL ACTION NO. Sl-91-1CR(6); EMERGENCY MOTION FOR
      COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C. § 3582(c) (1) (A)
      AND FOR APPOINTMENT OF COUNSEL

Dear Honorable Clerk:

      Enclosed with this letter, please find a FULL COPY of the above

mentioned Motion.     I would appreciate your assistance in filing

this Motion within the proper Honorable Court.



      Moreover, I would appreciate if you could please FILE/

RECEIVED STAMP the extra front cover sheet of the Said Motion and

in mailing it back for my records within the enclosed Pre-Paid

Envelope.   Your assistance in this important matter will be

greatly appreciated.      Thank you.



                                       Sincerely requested,




CC:   U.S. ATTORNEY
Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 2 of 9 PageID #: 982

      ECEIVED
                         UNITED STATES DISTRICT COURT
      l   ~:T 1 4 2020   EASTERN DISTRICT OF MISSOURI


UNI                                      §

AMERICA,                                 §

                 Plaintiff,               §   CRIMINAL ACTION NUMBER

v.                                        §    sl-91-lCR ( 6)   c.J) r
RAYMOND AMERSON,                          §

                 Defendant.               §




                  EMERGENCY MOTION FOR COMPASSIONATE RELEASE
              PURSUANT TO 18 U.S.C. § 3582(c) (1) (A) (i) AND FOR
      APPOINTMENT OF COUNSEL TO PROPERLY FILE A CORRECT MOTION



TO THE HONORABLE JUDGE OF SAID COURT:

          NOW COMES, Raymond Amerson . (hereinafter "Defendant"), and

hereby through PRO SE moves this Honorable Court to Grant him

Compassionate Release under the Newly Amended Changes by Congress

to 18 U.S.C. § 3582(c) (1) (A), and in support thereof, would

respectfully show this Honorable Court as follow:



                                  I.   INTRODUCTION

          In support of the foregoing Motion, Defendant will first of

all inform this Honorable Court that he is unskilled and is a

layman at the Profession of Law and is therefore being assisted

by another inmate.            Both the fellow inmate and Defendant, are

layman at the Profession of Law and would therefore ask that this

Court recognize the standards set forth by the United States

Supreme Court in HAINES v. KERNER, 404 U.S. 519, 92 s.ct. 594,
Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 3 of 9 PageID #: 983


30 L.Ed.2d 652 (1972), and in doing so, not hold Defendant herein

to the rigid standards of a Professional Legal Litigator.



                II.    REASONS FOR GRANTING MOTION AND
                      APPOINTMENT OF COUNSEL

     Defendant herein, raised concerns to the Warden of his place

of confinement in reference to COVID-19 posing an unreasonable

risk of serious damage to his Future Health, that could further

cause his death in prison, and thus requested COMPASSIONATE

RELEASE, but the Warden denied such request.           Defendant thereafter

exhausted all of his Administrative Remedies.



     However, and very sadly, Defendant has now contracted the

deadly virus and the situation has changed from a concerning risk

into a life-threatening emergency.         Defendant's heightened risks

require him to have access to advanced medical care, something

that USP Leavenworth will not and cannot provide.            Defendant

remains in his cell while the facility is on a modified lockdown,

as there were over 400 COVID-19 positive cases, between inmates

and prison staff at USP Leavenworth.         See, https://www.bop.gov.

coronavirus/.     Defendant is now reporting serious difficulty

breathing, by having shortness of breath, and had never felt

sicker in his life.     Defendant also reports that he is receiving

limited medical care.



     The fact that USP Leavenworth is experiencing a major

COVID-19 OUTBREAK is evidence enough to show that the facility is

unequipped to care for someone like Defendant.            In addition,

courts in other compassionate release cases have rightly observed
 Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 4 of 9 PageID #: 984


that the BOP is not able to properly care for prisoners who have

serious medical issues.       See, e.g., UNITED STATES v. VASQUEZ-

TORRES, No. 19-cr-20342, 2020 WL         4019038 (S.D. Fla. July 10, 2020)

(releasing defendant with diabetes, inability to adequately treat

Defendant's COVID-19 infection");         UNITED STATES v. DELATEUR,

No. 18-cr-5364, 2020 WL       3989175, at *2 (W.D. Wash. July 1, 2020)

(granting release because defendant "presents multiple health

issues that raise serious questions regarding the ability to

provide adequATE measures and medical care while incarcerated").



     Furthermore, even if USP Leavenworth is able to manage

Defendant's care for this infection, Defendant may be at risk at

REINFECTION should he remain incarcerated.           Defendant will be able

to more effectively avoid REINFECTION upon release, than if he

remains incarcerated at USP Leavenworth.           It is currently an

op e n question in the scientific and medical communities whether

individuals who contract COVID-19 develop any sort of immunity,

and if they do, how long such immunity might last.             However,

researchers have recently confirmed the FIRST CASE OF COVID-19

[R]~INFECTION in the United States.          See, Erika Edwards &

Akshay Syal, COVID-19 REINFECTION REPORTED IN NEVEDA PATIENT,

Researchers say, NBC News (Aug. 28, 2020), https://nbcnews.to/

33n9WdG.    Notably, the re-infected patient suffered a more

severe case of COVID-19 the second time he was infected.               Id.



     In recognition of the developing knowledge regarding

immunity and reinfection, numerous courts have granted

compassionate release to individuals who have tested positive
Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 5 of 9 PageID #: 985


for COVID-19.     See, e.g., UNITED STATES v. JACOBS, No. 19-cr-

00149, 2020 WL 3637625, at *5 (S.D. Iowa, July 2, 2020)             ("Other

Courts have found that a defendant can present a sufficiently

extraordinary and compelling reason for release if he or she

receives inadequate care following a COVID-19           diagnosis or has

underlying health conditions that can make that diagnosis more

deadly ... In other words, COVID-19 diagnosis does not moot a

defendant's request for compassionate release");            UNITED STATES

v. PLANK, No. 17-20026-SWL, 2020 WL 3618858, at *3 (D. Kan. July

2, 2020)   (noting exposure to COVID-19 outbreak within prison

facility creates risk of worsening illness even where a defendant

already contracted the virus); UNITED STATES v. YELLIN, No. 15-cr-

03181, 2020 WL 3488738, at *3 (S.D. Cal. June 26, 2020)             (granting

compassionate release to a defendant who tested positive and did

not develop severe symptoms because "the possibility of REINFECTION

PERSISTS");     UNITED STATES v. SCHAFFER, No. 13-cr-00220, 2020 WL

3481562, at *1-2 (N.D. Cal. June 24, 2020)          (granting compassionate

release to a defendant who recovered from COVID-19, noting "the

scientific community has not, as of this date, determined whether

a prior infection produces immunity or affects the severity of

any potential subsequent infection");          UNITED STATES v. DAVIS,

No. 15-cr-00062, 2020 WL 3443400, at *2 (E.D. Cal. June 23, 2020)

("The prevalence of the disease in this facility puts defendant

at great and particularized risk due to his well-documented,

serious, and ongoing health conditions.          Although the Government

argues that defendant's motion is moot because he has already

contracted COVID-19 and is currently being treated, such an

argument ignores the possibility that defendant may become infected
Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 6 of 9 PageID #: 986


again even if he fully recovers").



     Thus, Defendant herein moves this Honorable Court to GRANT

him the APPOINTMENT OF COUNSEL to properly assist him in the

Proceedings of the Newly Amended Changes by Congress to 18 U.S.C.

§ 3582(c) (1) (A), based on the fact that he presents COMBINED

"extraordinary and compelling reasons" for seeking Compassionate

Release under the THEN-MANDATORY GUIDELINE SENTENCING REGIME that

is no longer in effect and has since been declared UNCONSTITUTIONAL.



     Many Courts across the country have determined, that if a

judge finds the existence of ANY "extraordinary and compelling

reasons" warranting a sentence reduction, those reasons could,

pursuant to 18 U.S.C. § 3582(c) (1) (A), FORM the legal basis for

the reduction "OF AN UNUSUALLY LONG SENTENCE."           See, UNITED STATES

v. MILLAN, Case No. 91-CR-685       (LAP)   (S.D.N.Y. - April     6, 2020);

UNITED STATES v. TORRES, Case No. 87-CR-593          (SHS)   (S.D.N.Y. -

June 1, 2020); UNITED STATES v. HOPE, Case No. 90-cr-06108-KMW-2

(S.D. Fla - April 10, 2020); UNITED STATES v. PARKER, Case No.

2-98-cr-00749-CAS-l    (C.D. Cal. - May 21, 2020); and UNITED STATES

v. CANTU-RIVERA, Case No. H-89-204          (S.D. Tx - June 24, 2019).



     All of the above defendants were serving Mandatory Minimums

of Life Imprisonment, and have now been Granted a Reduction in

Sentence under the Newly Amended Changes by Congress to the

Compassionate Release Statute (18 U.S.C. § 3582(c) (1) (A)).



     HENCE, Defendant herein prays that this Honorable Court

GRANT the Appointment of Counsel and to further GRANT him
.. ,   Case: 4:91-cr-00001-CDP Doc. #: 394 Filed: 10/14/20 Page: 7 of 9 PageID #: 987


       Compassionate Release.



                                       CONCLUSION

              WHEREFORE, Defendant prays that, pursuant to 18 U.S.C.

       §   3582(c) (1) (A) (i), as amended by Congress, his term of

       imprisonment be modified to time-served, all as more fully set

       out in any brief or supplement Motion that may be filed by the

       Court Appointed Counsel assigned by this Honorable Court.



              Defendant furthermore prays for ,.all further RELIEF to which

       he may be entitled to in this proceeding.



                                             Respectfully submitted,



                                             Ray ond Amerson Bey
                                             Reg. No. 21403-044
                                             U.S. Penitentiary
                                             P.O. BOX 1000
                                             Leavenworth, KS 66048


                                CERTIFICATE OF SERVICE

              I, Raymond Amerson Bey, hereby certify that I have forwarded

       a true and correct copy of the foregoing instrument by the method

       indicated to all counsel of record listed below on the             _l_   day of

       October, 2020.

       (U.S. FIRST CLASS MAIL)

       RICHARD G. CALLAHAN
       U.S. ATTORNEY
       U.S. COURTHOUSE
       111 SOUTH 10TH STREET
       ROOM 20.333
       ST. LOUIS, MO 63102
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